                                              United States Bankruptcy Court
                                             Middle District of Pennsylvania
In re:                                                                                                     Case No. 19-04953-HWV
Marouan Hajmabrouk                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0314-1                  User: AutoDocke                    Page 1 of 1                          Date Rcvd: Jul 13, 2020
                                      Form ID: fnldec                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 15, 2020.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
db             +E-mail/PDF: marwenhm@ymail.com Jul 13 2020 19:50:50     Marouan Hajmabrouk,   314 W Snyder St,
                 Selinsgrove, PA 17870-1520
                                                                                            TOTAL: 1

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 15, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 13, 2020 at the address(es) listed below:
              James Warmbrodt    on behalf of Creditor   Toyota Motor Credit Corporation bkgroup@kmllawgroup.com
              Lawrence G. Frank (Trustee)   lawrencegfrank@gmail.com, PA39@ecfcbis.com
              United States Trustee   ustpregion03.ha.ecf@usdoj.gov
                                                                                            TOTAL: 3




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                             Imaged Certificate of Notice Page 1 of 2
                        UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF PENNSYLVANIA
In re:


Marouan Hajmabrouk,                                         Chapter          7

                 Debtor 1
                                                            Case No.         1:19−bk−04953−HWV


Social Security No.:
                             xxx−xx−8094
Employer's Tax I.D. No.:




                                             FINAL DECREE

The estate of the above named debtor(s) has been fully administered.

IT IS ORDERED THAT:
                                           Lawrence G. Frank (Trustee)

is discharged as trustee of the estate of the above named debtor(s); and the chapter 7 case of the above named
debtor(s) is closed.

Dated: July 13, 2020                                       By the Court,




                                                           Honorable Henry W. Van Eck
                                                           Chief Bankruptcy Judge
                                                           By: ChristinaKovach, Deputy Clerk

fnldec (05/18)




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